Case 2:17-cr-00427-JFW Document 75 Filed 05/03/21 Page 1 of 2 Page ID #:359



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 s                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
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11           STATES OF AMERICA,                           CaseNo.: a ~ 17 `CR -Ooya7 -VFW-)
12                                  Plaintiff,            ORDER OF DETENTION AFTER
                                                          HEARING
13                vs.                                        3143(a)]m. P. 32.1(a)(6); 18 U.S.C.
                                                          [§
14 !I ("Iichael f~n~ho~r,~
is      1~1 ie czorck               Defendant.
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17      The defendant having been arrested in this District pursuant to a warrant issued
18   the United States District Court for the (',er~va~ D i s~. e A
19    alleged violations) ofthe terms and conditions of his/her [probation] supervised
20   .ease ,and
21      The Court having conducted a detention hearing pursuant to Federal Rule of
22   iminal Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a),
23      The Court finds that:
24          The defendant has not met his/her burden of establishing by clear and
25      convincing evidence that he/she is not likely to flee if released under 18 U.S.C. §
26      3142(b)or (c). This finding is based on ;h~~Qr~ a~~eaa~io~r,s o'~
2/        /~ ~C 1 .I~ M ~ ~ iA w   ~/\1/\A   R   R/   •   ~~ ~~    T't\   T\~~   /11 ~ VI 1f\ ~.




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 3       and/or
 4      (J~The defendant has not met his/her burden of establishing by clear and
 5       convincing evidence that he/she is not likely to pose a danger to the safety of any
 6       other person or the community if released under 18 U.S.C. § 3142(b)or (c). This
 7      finding is based on    GYi ~.~ro~     i s ~~►I             2021
 8         QYres~s    ~ ~„~~,,r..~ ~ s~bs~or~             ab~S~
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13      IT TI~REFORE IS ORDERED that the defendant be detained pending further
14     cation proceedings.
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16    TED:    Sf 3 ~ 2
                                             N E. SCOTT
17                                       UNITED STATES MAGISTRATE JUDGE
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